              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 2:13-cr-00015-MR-DLH-5


UNITED STATES OF AMERICA         )
                                 )
         vs.                     )                           ORDER
                                 )
                                 )
WALTER CALE STANCIL.             )
________________________________ )


     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment [Doc. 85].

     For the reasons stated in the Government’s motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss Indictment [Doc. 85] is GRANTED, and the Bill of Indictment filed

in the above-captioned case is hereby DISMISSED WITH PREJUDICE as

to Defendant Walter Cale Stancil only.

     IT IS SO ORDERED.          Signed: February 24, 2014




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